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                      EXHIBIT A
                       Case: 1:22-cv-00611-MRB Doc #: 1-1 Filed: 10/20/22 Page: 2 of 12 PAGEID #: 9


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                        5th Floor
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       Hamilton, Ohio 45011
                       45011

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                      AMAZON.COM SERVICES LLC
                      C/O CORPORATION SERVICE COMPANY
                                                  103
                      3366 RIVERSIDE DRIVE SUITE 103
                                            43221
                      UPPER ARLINGTON, OH 43221




                                                        September 16, 2022
                                                                  16,2022




                                                                    1561
                                                         CV 2022 09 1561
                       Z000056750                                                     By: Norma Martin
Case: 1:22-cv-00611-MRB Doc #: 1-1 Filed: 10/20/22 Page: 3 of 12 PAGEID #: 10
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AMAZON.COM SERVICES
C/O CORPORATION
C/O  CORPORATION SERVICE
                  SERVICE COMPANY
                            COMPANY
3366 RIVERSIDE DRIVE SUITE
3366                 SUITE 103
                            103
UPPER ARLINGTON, OHOH 43221




Date:              16, 2022
         September 16,                                     Case No. :: CV 2022 09 1561
                                                                                  1561
                          KAYLA STEWART et al vs. LOVETOY LLC et al


          SUMMONS ON COMPLAINT BY CERTIFIED MAIL
         COURT OF COMMON PLEAS, BUTLER COUNTY, OHIO

To the above named party: You are hereby summoned to answer a complaint that has been filed against
you in the Butler County Common Pleas Court by the plaintiff(s) named herein. A copy of the complaint is
attached.

You are required to serve upon the plaintiff(s) attorney, or upon the plaintiff(s) if there is no attorney of
record, a copy of your answer to the complaint within 28 days after receipt of this summons, exclusive of
the day of service. The answer must be filed with this court within three days after service on Plaintiff's
                                                                                                   Plaintiffs
attorney.

The name and address of the plaintiff(s) attorney is as follows:

         IGNOZZI, KENNETH J
         131 NORTH LUDLOW ST. SUITE 1400
         131
         DAYTON, OH 45402

If you fail to appear and defend, judgment by default may be taken against you for the relief demanded in
the complaint.
    complaint.


MARY L.
     L. SWAIN
Butler County Clerk of Courts
                       Courts




By:
By: Norma Martin
Deputy Clerk




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           SERVICES CENTER
GOVERNMENT SERVICES               HIGH STREET
                              315 HIGH          SUITE 550
                                       STREET • SUITE        HAMILTON, OHIO
                                                      550 •• HAMILTON,      45011-6016
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           IN THE COMMON PLEAS COURT OF BUTLER COUNTY, OHIO
                            CIVIL DIVISION

Kayla Stewart                                  :        CASE NO._______________
                                                             N0.
206 East Worley Ave
Dayton, OH 45426                               :        JUDGE:_________________
                                                        JUDGE:

and                                            :

Samantha Stewart                               :
206 East Worley Ave
Dayton, OH 45426                               :        COMPLAINT FOR PERSONAL
                                                        COMPLAT.NT
                                                        INJURIES WITH JURY
       Plaintiffs                              :        DEMAND ENDORSED HEREIN

vs.

Lovetoy, LLC c/o                               :
Statutory Agent, Harry Huang
16322 Sonnet Place
16322                                          :
Chino Hills, CA 91709

and                                            :

Amazon.com Services LLC.
c/o Corporation Service Company
                            103
3366 Riverside Drive, Suite 103
Upper Arlington OH  43221

       Defendants.


                                  STATEMENT OF FACTS

         1.
         1.    Defendant,
               Defendant, Lovetoy,
                          Lovetoy, LLC
                                   LLC (hereafter “Defendant
                                                    "Defendant Lovetoy”),
                                                                Lovetoy"), is
                                                                           is a California
                                                                                Califonlia limited
liability company doing business within the State of
                                                  of Ohio, and the United States.




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       2.
       2.      Defendant Lovetoy is distributor, seller, supplier, retailer, wholesaler, and/ or
agent or broker in the sale of adult sex toys.

      3.
      3.     Plaintiff, Kayla Stewart (hereafter "Plaintiff
                                                 “Plaintiff Kayla"),
                                                            Kayla”), is current resident of
Montgotiiery
Montgomery County, Ohio and resided in Butler County, Ohio in Septeniber
                                                                  September of 2020.

       4.      Plaintiff, Samantha Stewart (hereafter "Plaintiff
                                                        “Plaintiff Saniantlha"),
                                                                   Samantha”), is and was, at all
times herein relevant, tlie
                       the wife of Plaintiff Kayla. Plaintiff Samantha is current resident of
Montgomery County, Ohio and resided in Butler County, Ohio in September of 2020.
Montgoniery

         5.
         5.      Amazon.com Services LLC. (hereafter "Defendant
                                                        “Defendant Amazon")
                                                                   Amazon”) is a worldwide
                                                                                   Worldwide
seller and distributor of products through its website Amazon.com. It is a Delaware limited
liability company wliich
                   which sells products to Ohio citizens and does business in the State of Ohio.

       6.
        6.      Venue is proper in Butler County, Ohio. Defendant Amazon and Defendant
Lovetoy sold and distributed products to customers and consumers within Butler County.
Further, the actions and injuries alleged herein arose within Butler County.

        7.                             16, 2020, while residing in Butler County, Ohio, Plaintiff
                On or about September 16,
Kayla, was injured while using an adult sex toy (hereinafter "The
                                                              “The Toy")
                                                                   Toy”) as intended witli
                                                                                     with her
wife, Plaintiff Samantha, when a metal rod inside the toy protruded from The Toy while it was
being used, causing serious bodily injuries to Plaintiff Kayla.

       8.
       8.      Plaintiff Kayla purchased The Toy at issue in September of 2019 for $28.99 using
her account with Defendant Amazon from Defendant Lovetoy.

       9.
       9.     Defendant Amazon labeled, shipped, delivered and / or fulfilled the order for The
                                                “Amazon.”
Toy, and The Toy was delivered in a box labeled "Amazon."

      10.
      10.     The Toy was manufactured by Lovetoy Product Limited, located in the city of
Dongguan in the country of China.

        11.
       11.      Lovetoy Product Limited is a manufacturer which designed, produced, created,
made, constructed and/or assembled The Toy which was supplied to Plaintiff Kayla and which
            injuries, damage and loss described in this complaint.
caused the injtu'ies,

        12.
        12.     Defendant Lovetoy and /or Defendant Amazon, in the ordinary course of
                                       packaged, labeled, inaintained,
business, sold, distributed, prepared, pacicaged,         maintained, and/or otherwise
participated in placing The Toy in the stream of commerce.

         13.
         13.   Lovetoy Product Limited does not transact business in the state of Ohio, is not
subject to Ohio courts personal jurisdiction, and is not subject to judicial pi•ocess
                                                                             process in Ohio.

     14.
     14.     Defendant Lovetoy and /or Defendant Amazon marketed The Toy on Defendant
Amazon’s website under its own label or trade name.
Amazon's



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        15.
        15.     Defendant Lovetoy, Lovetoy Product Limited, and /or Defendant Amazon Icnewknew
                known that The Toy was defective, including but not limited to that the metal rod
or should have lcnown
inside The Toy could damage the plastic / rubber portion of The Toy and protrude through to the
exterior of the device, which could cause injury when The Toy was used.

       16.
        16.    After her injuries, Plaintiff Kayla contacted Defendant Lovetoy and advised she
had suffered bodily injuries when the metal rod protruded through the plastic / rubber portion of
The Toy while The Toy was being used to which Defendant Lovejoy responded that it had been
aware the particular product was "problematic"
                                   “problematic” and that the company was already working on
redesigning the product to avoid the type of occurrence that injured Plaintiff Kayla.

       17.
        17.                knowledge, Defendant Lovetoy, Lovetoy Product Limited, and /or
               Despite its lcnowledge,
                     took no action to prevent purchasers of The Toy from being injured,
Defendant Amazon toolc
including but not limited to failing to recall the product, warn purchasers of the defective
product, and/or remove the product from the marlcet.
                                                market.

       18.
       18.   As a direct and proximate result of Defendant Amazon, Defendant Lovetoy, and
                Limited’s breaches of their duties concerning the sale of The Toy and its
Lovetoy Product Limited's
component parts, Plaintiff Kayla and Plaintiff Sarnantha
                                               Samantha suffered damages in excess of
$25,000.00.


                                 FIRST CAUSE OF ACTION

       19. Plaintiffs incorporate by reference the averments contained in Paragraphs 11 through
       19.Plaintiffs
18 above, as though fully rewritten herein.
18

        20. Defendant Lovetoy and/ or Defendant Amazon are sellers, suppliers, and/or
        20.
distributors within the meaning of Ohio Revised Code Sections 1302.27
                                                              1302.27 and 1302.28
                                                                           1302.28 and
2307.71(A)(15).

       21.
       21.     The Toy was defective and unreasonably dangerous when placed into the stream
of commerce use by Lovetoy Product Limited, Defendant Lovetoy, and/or Defendant Amazon
by reason of the following product defects:

               1.     Manufacturing Defect
                      The Toy was defective in manufacture and
                      construction as defined in Ohio Revised Code 2307.74;
                      constniction

               2.     Design Defect
                      The Toy was defective in design or fonnulation
                                                         formulation as
                      defined in Ohio Revised Code 2307.75 in that the product allowed the
                      metal to protrude through the product;



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               3.      Consumer Expectation Standard
                       The Toy was defective because it did not confonn
                                                                conform to the representations
                       made by Lovetoy Product Limited, Defendant Lovetoy, and/or Defendant
                       Amazon as defined in Ohio Revised
                       Code 2307.77, upon normal expected use;

               4.      Risk Benefit Standard
                       The foreseeable risks associated with the design of The Toy
                       as defined in Ohio Revised Code 2307.75, exceeded the benefits
                       associated with that design or formulation; and

               5.      Warning Defect
                       The Toy was defective due to inadequate warning or instruction, as they
                       are defined in Oliio
                                      Ohio Revised Code 2307.76, in that Lovetoy Pi-oduct
                                                                                     Product
                       Limited, Defendant Lovetoy, and/or Defendant Amazon failed to provide
                       adequate warning or instruction that a manufacttirer
                                                               manufacturer or sellei-
                                                                               seller exercising
                                                                                       exercising
                       reasonable care would have provided concerning the risk of injury and
                       likely seriousness of liarm
                                             harm for use of the product.


        22.
        22.   The Toy was defective because it was capable of causing, without notice, severe
and permanent
    pei-manent injuries to its users.

       23.
       23.    In supplying and selling The Toy, Lovetoy Product Limited, Defendant Lovetoy,
and/or Defendant Amazon made various implied warranties concerning The Toy and its
component parts, including a warranty that the product and its component parts,
                                                                         pai-ts, was of
merchantable quality and fit for ordinary use.

        24.
        24.     When The Toy and its attendant component parts left the control of Lovetoy
Product Lmllted,
         Limited, Defendant Lovetoy, and/or Defendant Amazon, said product and its component
parts did not conform to representations niade
                                         made by Lovetoy Product Limited, Defendant Lovetoy,
and/or Defendant Amazon thereby rendering said Defendants liable for darnages
                                                                       damages pursuant to
Ohio Revised Code Sections 2307.72-74 and 2307.77-78.

         25.
         25.    When the Toy and its attendant componeiit
                                                component parts left the control of Lovetoy
Product Limited, Defendant Lovetoy, and/or Defendant Amazon, said product and its attendant
coinponents
components parts deviated in material ways from the design specifications, foi-mulas,
                                                                              formulas, or
perfoi-inance standards of said manufacttn•ers,
performance                     manufacturers, or fi-om
                                                   from otherwise identical units manufach.u-ed
                                                                                  manufactured to
the same design specifications, fonnulas,
                                 formulas, or performance
                                              perfoi-rnance standards thereby rendering the product
defective in manufacture or constniction
                             construction pursuant to Ohio Revised Code Sections 2307.72-74.

      . 26. A defective aspect of The Toy, specifically including but not limited to its propensity
to allow a metal rod within The Toy suddenly and unexpectedly protrude
                                                                 protnide from the surface during
use, was a proximate cause of the harrn
                                   harm for which Plaintiffs Kayla and Plaintiff Samantha seek to
recover damages.



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         27.
         27. Defendant Lovetoy and/or Defendant Amazon is liable as a supplier pursuant to
Section 2307.78(A)O2)
          2307.78(A)()2) because when The Toy left the control of Defendant Lovetoy and/or
Defendant Amazon, the product did not conform to representations made by Defendant Lovetoy
and/or Defendant Amazon, including those representations to Plaintiff Kayla that The Toy was
safe and fit for tlie            pui-pose which Plaintiff Kayla used the product, despite the fact that
                  the particular purpose
The Toy caused bodily injuries when the metal portion protruded
                                                           proti-uded through its surface during use;
                                                                                                 use,'
which was known to Defendant Lovetoy and/or Defendant Amazon. Defendant Lovetoy aiid/or       and/or
Defendant Amazon's
             Amazon’s representations and failure to conform to the representations was a direct
and proximate cause of the damages suffered by Plaintiff Kayla. On September 16,     16, 2020 after
the defective product
               pi-oduct injured Plaintiff Kayla, the incident was immediately reported to Defendant
Lovetoy, and Twitter respondent at 10:46pm
                                        10:46pm advised that the product was problematic and "in“in
fact, since last month we have been improving this product about rod material, trying to replace
the metal strips with plastic materials, and strengthen the protection of botli
                                                                           both ends to prevent
falling off."
         off.”

        28.
        28.     Pursuant to Section 2307.78(B), Defendant Lovetoy and /or Defendant Amazon
are suppliers under the Ohio Product Liability Act and are liable because discovery and evidence
demonstrates that some of the circumstances set forth in the Section 2307.78(B) of the Ohio
Revised Code applies, including but not limited to, that Lovetoy Product Limited is not subject
to judicial process in Ohio courts as set forth in Ohio Revised Code 2307.78; Defendant Lovetoy
                             furnished to the manufacturer design or formulation that was used to
and /or Defendant Amazon furizished
                 make, construct, assemble, or rebuild The Toy as set forth in Ohio Revised Code
produce, create, malce,
2307.78; and/ or Defendant Lovetoy and /or Defendant Amazon marlceted
                                                                  marketed that product under its
own label or trade name.

        29.
        29.    As a proximate result of the foregoing, Plaintiff suffered serious and permanent
injuries and damages as follows:

               a. Severe and permanent
               a.             pei-manent injuries, including pain, emotional
                  distress, depression, loss of consortium, and lacerations and
                  bleeding to genitalia, including the pelvic floor;

               b. Great pain and suffering, both physical and emotional, and loss
               b.
                  of ability to perform usual functions, including preclusion of
                  reproduction capabilities, and the injuries will cause further
                  pain and suffering in the fiiture;
                                            future;

               c. Reasonable and necessary medical expenses in excess of
               c.
                                         future medical treattnent
                  $33,994.52, as well as fiiture        treatment and expenses;

               d. Loss of wages and earnings in an amount yet to be detei-mined.
               d.                                                   determined.




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       •30.
        30.     The conduct of Defendant Lovetoy and /or Defendant Amazon in supplying ancl    and
inspecting The Toy used by Plaintiff Kayla on September 16,  16, 2020, coizstitutes
                                                                        constitutes misconduct by
the supplier that manifested a flagrant disregard for the safety of the persons who might by
                                                            punitive damages against Defendant
                                     such that an award of ptuzitive
harmed by the product in question, sucli
pursuant to Ohio Revised Code 2307.80 is proper in this case.

       WHEREFORE, Plaintiff, Kayla Stewart, demands judgment against Defendant Lovetoy
                            compensatory and punitive damages in an amount in excess of
and Defendant Amazon, for conipensatory
                                               court deems reasonable.
$25,000.00 and for such attorney’s fees as the cout-t
                        attorney's




                                SECOND CLAIM FOR RELIEF

       31.
       31.                                            avenuents contained in Paragraphs 11
              Plaintiffs incorporate by reference the avennents
through 30 above, as though fully rewritten herein.

       32.
       32.      Lovetoy Product Limited, Defendant Lovetoy, and/or Defendant Amazon was
negligent in the supplying, manufacturing, and selling of The Toy.

        33.
        33.                                          Lovetoy, and/or Defendant Amazon owed a
                Lovetoy Product Limited, Defendant Lovetoy;
legal duty to exercise reasonable care and provide Plaintiff Kayla with a sex toy product;  which
                                                                                  product,' which
was safe and appropriate for normal and expected use in her household.

         34.
        34.                                                                   Amazon had an
                Lovetoy Product Limited, Defendant Lovetoy, and/or Defendant Ainazon
ongoing duty to warn purchases of any potentially hazardous conditions of products that it sold
or distributed.

       35.
       35.     Lovetoy Product Limited, Defendant Lovetoy, and/or Defendant Amazon
breached its duty to Plaintiff Kayla and negligently failed to provide Plaintiff Kayla with a sex
                                                               Kayla’s household.
toy product that was safe and appropriate for use in Plaintiff Kayla's

       36.
       36.      As a direct and proximate result of Lovetoy Product Limited, Defendant Lovetoy,
                  Amazon’s breach of its duty and negligence, Plaintiff Kayla suffered damages
and/or Defendant Amazon's
in excess of $25,000.00.

       WHEREFORE, Plaintiff, Kayla Stewart, demands judgment against Defendant,
Lovetoy, LLC and Defendant Amazon, for compensatory and punitive damages in an amount in
                                                         court deems reasonable.
                                  attorney’s fees as the cout-t
excess of $25,000.00 and for such attortiey's


                                 THIRD CLAIIVI
                                       CLAIM FOR RELIEF

       37.
       37.                                            avennents contained in Paragraphs 11
              Plaintiffs incorporate by reference the avenuents
through 36 above, as though fully rewritten herein.


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           38.     Lovetoy Product Limited, Defendant Lovetoy, and/or Defendant Amazon
    expressly and/ or impliedly warranted to Plaintiff Kayla that The Toy it provided to Plaintiff
                                     PlaintiffKayla's
    Kayla was appropriate for use in Plaintiff Kayla’s household.

           39.     Lovetoy Product Limited, Defendant Lovetoy, and/or Defendant Amazon
    breached its warranties with Plaintiff Kayla when it sold and supplied Plaintiff Kayla with Tlze
                                                                                                The
    Toy.
           40.     As a direct and proximate result of Lovetoy Product Limited, Defendant Lovetoy,
    and/or Defendant Amazon's
                      Amazon’s breach of its warranties Plaintiff Kayla suffered damages in excess
    of $25,000.00.


           WHEREFORE, Plaintiff, Kayla Stewart, demands judgmentjudgnient against Defendant,
    Lovetoy, LLC and Defendant Amazon, for compensatory and punitive damages in an amount in
    excess of $25,000.00 and for such attorney's
                                      attorney’s fees as the court deems reasonable.

                                    FOURTH CLAIIVI
                                           CLAIM FOR RELIEF


           41.               incorporate by reference the averinents
                  Plaintiffs incoi-porate                 averments contained in Paragraphs 11
    through 40 above, as though fully rewritten herein.

            42.         a proximate result ofthe
                    As aproximate          of the foregoing, Plaintiff Samantha lost the services,
    society, support, companionship and consortium of Plaintiff Kayla and she will in all likelihood,
    lose the services, society support, companionship and consortium of Plaintiff Kayla in the
    indefinite future.

             43.    The aforesaid negligence of Defendants was the direct and proximate cause of the
    injuries and damages to Plaintiff Samantha.

           WHEREFORE, Plaintiff, Samantha Stewart, demands judgment against the Defendant,
           `VHEREFORE,
    Lovetoy, LLC and Defendant Amazon, as a result of her derivative claim for compensatory and
                                                                       attorney’s fees as the court
    punitive damages in an amount in excess of $25,000.00 and for such attorney's
    deems reasonable.
    deenis




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v   n'   P



                                                         Respectfully submitted,

                                                         DYER, GAROFALO, MANN & SCHULTZ

                                                         /s/Kenneth J. Ignozzi
                                                                       Ignozzi_______
                                                         Kenneth J. Ignozzi, Esq. (0055431)
                                                         Attorney for Plaintiffs
                                                         131 North Ludlow Street
                                                         131 Noi-th
                                                         Suite 1400
                                                               1400
                                                         Dayton, Ohio 45402
                                                         Telephone: (937) 223-8888
                                                         Facsimile: (937) 824-8630
                                                         Email: kignozzi@dgmslaw.com



                                                   J6JRY
                                                   JURY DEMAND

                     Now comes Plaintiff, by and through counsel, and hereby demands a trial by jury on all
             issues of this matter.

                                                         Respectfully submitted,

                                                         DYER, GAROFALO, MANN & SCHULTZ




                                                         /s/Kenneth J. Ignozzi
                                                                       Ignozzi_______
                                                         Kenneth J. Ignozzi, Esq. (0055431)
                                                         Attorney for Plaintiffs
                                                          131 North Ludlow Street
                                                         131
                                                         Suite 1400
                                                               1400
                                                         Dayton, Ohio 45402
                                                         Telephone: (937) 223-8888
                                                         Facsimile: (937) 824-8630
                                                         Einail:
                                                         Email: lcignozzi@dginslaw.com
                                                                 kignozzi@dgmslaw.com




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               AMAZON.COM SEItVICES        I.L,C
                                SERVICES LLC
               C/O CORPOIPATION       SERVICE COMPANl'
                   CORPORATION SEI<tVICE        COMPANY
               3366 RIVERSIDE
                    ItaVEItSII➢E DRIVE   SUITE 103
                                 II➢RIVE SUYTE
               UPPEIi ARLINGTON, OH 43221
               UPPER                      43221




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